431 F.2d 1206
    John Allen FARMER, Plaintiff-Appellant,v.Robert H. FINCH, Secretary of Health, Education and Welfare,Defendant-Appellee.
    No. 29692 Summary Calendar.**Rule 18, 5th Cir.; See Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Oct. 5, 1970.
      John Allen Farmer, pro se.
      William J. Schloth, U.S. Atty., Charles T. Erion, Asst. U.S. Atty., Macon, Ga., for defendant-appellee.
      Appeal from United States District Court, Middle District of Georgia; J. Robert Elliott, District Judge.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      On the basis of Meadows v. Cohen, 409 F.2d 750 (5th Cir. 1969) and Moore v. Gardner, 376 F.2d 850 (3rd Cir. 1967), the decision of the court below is affirmed.  See Local Rule 21.1
    
    
      
        1
         See NLRB v. Amalgamated Clothing Workers of America, 430 F.2d 966 (5th Cir. 1970)
      
    
    